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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

 DYNAMIC MOTION RIDES GMBH,
 an Austrian company, and DYNAMIC
 MOTION GROUP GMBH, an
 Austrian company,
                                                   Case No. 6:21-cv-752-RBD-LHP
       Plaintiffs,

 vs.

 UNIVERSAL CITY DEVELOPMENT
 PARTNERS LTD, a limited
 partnership, UNIVERSAL CITY
 STUDIOS LLC, a limited liability
 company, UNIVERSAL STUDIOS,
 LLC, a limited liability company, and
 PETERSEN INCORPORATED, a
 Utah corporation,

       Defendants.
 ___________________________________/

                      JOINT NOTICE OF RESOLUTION

       Plaintiffs, Dynamic Motion Rides GMBH and Dynamic Motion Group

 GMBH      (collectively,   “Plaintiffs”),   and    Defendants,   Universal   City

 Development Partners, Ltd.; Universal City Studios LLC; and Universal

 Studios, LLC (collectively, the “Universal Defendants”), by and through their

 respective undersigned counsel, hereby jointly notify the Court, pursuant to

 Local Rule 3.09(a) and Section VIII.C. of the Case Management and Scheduling

 Order dated June 30, 2021 (Doc. 26), that the parties have agreed to settle all
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 of the parties’ claims and defenses in this case, subject to entry into a formal

 written agreement.

       DATED this 28th day of March, 2023.

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                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 28, 2023, I electronically filed the

 foregoing with the Clerk of Court by using the CM/ECF system, which will

 serve an electronic copy on all counsel of record.

                                         /s/ Michael J. Beaudine
                                         Michael J. Beaudine, Esq.




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